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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 UNITED STATES,                                               :
                                                              :   14 Cr. 055 (LGS)
                                                              :
                            -against-                         :       ORDER
                                                              :
 DONALD CARR,                                                 :
                                            Defendant. :
 -------------------------------------------------------------X
LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on April 3, 2020, Defendant moved by email to Chambers for compassionate

release pursuant to 18 U.S.C. § 3582(c) and § 4205(g). It is hereby

        ORDERED that the Government shall respond by email to Chambers as soon as possible

and in any event no later than April 6, 2020.

Dated: April 3, 2020
       New York, New York
